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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TENNESSEE
                                   MEMPHIS DIVISION

UNITED STATES OF AMERICA

-v-                                                     2:08CR20052-01-A

NARRINO STEWART
a/k/a Marrino Stewart
a/k/a Ray Moore
                                       Needum Louis Germany, III, FPD
                                       Defense Attorney
                                       200 Jefferson Ave., Ste. 200
                                       Memphis, TN 38103
______________________________________________________________________

                      REDACTED JUDGMENT IN A CRIMINAL CASE
                   (For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1, 3, 4, 5, and 6 of the Indictment on March 17, 2009.
Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                       Date Offense        Count
       Title & Section                 Nature of Offense                Concluded        Number(s)

      18 U.S.C. § 2119        Carjacking                                 12/17/2007           1
      18 U.S.C. § 922(g)      Felon in Possession of a Firearm           12/20/2007           3
      18 U.S.C. § 922(j)      Possession of a Stolen Firearm             12/20/2007           4
      18 U.S.C. § 2119        Carjacking                                 12/20/2007           5
      18 U.S.C. § 924(c)      Carry/Use of Firearm During and in         12/20/2007           6
                              Relation to a Crime of Violence

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory Victims Restitution Act
of 1996

Count 2 is dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

                                                                     Date of Imposition of Sentence:
                                                                                       July 29, 2009

                                                         s/ S. Thomas Anderson
                                                         S. THOMAS ANDERSON
                                                         UNITED STATES DISTRICT JUDGE
                                                                               August 6, 2009
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                                    IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 120 Months as to Counts 1 and 3 to be served
concurrently to each other; a term of 120 Months as to Counts 4 and 5 to be served
concurrently to each other; and a term of 120 Months as to Count 6; all to be served
consecutively for a Total Term of 360 Months.

        The Court recommends to the Bureau of Prisons: That the defendant be evaluated
for placement in a Federal Medical Facility; That the defendant participate in the 500 Hour
Intensive Drug Treatment Program; That the defendant obtain his GED, and participate in
other educational/vocational classes and training.

       The defendant is remanded to the custody of the United States Marshal.




                                         RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________to _______________________

 at_____________________________________________, with a certified copy of this
judgment.


                                                  _________________________________
                                                            UNITED STATES MARSHAL


                                               By:_________________________________
                                                             Deputy U.S. Marshal
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                                       SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years, as to each Count to be served concurrently.

        The defendant shall report to the probation office in the district to which the defendant
is released within 72 hours of release from custody of the Bureau of Prisons.

       While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

        The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at
least two periodic drug tests thereafter, as directed by the probation officer.

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

                       STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or probation officer;

2.      The defendant shall report to the probation officer as directed by the court or probation officer and shall
        submit a truthful and complete written report within the first five days of each month;

3.      The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
        the probation officer;

4.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
        schooling, training, or other acceptable reasons;

5.      The defendant shall notify the probation officer ten(10) days prior to any change in residence or
        employment;

6.      The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,
        distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
        substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as directed
        by the probation officer to determine the use of any controlled substance;

7.      The defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
        or administered;

8.      The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
        with any person convicted of a felony unless granted permission to do so by the probation officer;

9.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
        shall permit confiscation of any contraband observed in plain view by the probation officer;
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10.    The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
       enforcement officer;

11.    The defendant shall not enter into any agreement to act as an informer or a special agent of a law
       enforcement agency without the permission of the court;

12.    As directed by the probation officer, the defendant shall notify third parties of risks that may be
       occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
       the probation officer to make such notifications and to confirm the defendant’s compliance with such
       notification requirement.

13.    If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
       that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
       forth in the Criminal Monetary Penalties sheet of this judgment.

             ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

       The defendant shall also comply with the following additional conditions of supervised
release:
       The defendant shall participate in substance abuse testing and treatment programs as
       directed by the Probation Officer.
       The defendant shall participate in mental health counseling as directed by the Probation
       Officer; to include anger management.
       The defendant shall seek and maintain full-time employment.
       The defendant shall cooperate with DNA collection as directed by the Probation Officer.


                            CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to penalties
for default and delinquency pursuant to 18 U.S.C. § 3612(g).

      Total Assessment                          Total Fine                        Total Restitution
            $500.00                                                                   $12,800.00

                      The Special Assessment shall be due immediately.


                                                   FINE
                                            No fine imposed.
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                                        RESTITUTION

        Restitution in the amount of $12,800.00 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

                                                                                       Priority
                                      Total                Amount of                    Order
        Name of Payee                Amount            Restitution Ordered                or
                                     of Loss                                         Percentage
                                                                                     of Payment
 Diana Humphrey-McKee,              $3,484.27                $3,484.27
 Richard McKee,                      $250.00                  $250.00
 Guide One Insurance,               $9,065.73                $9,065.73

       If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

        The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.


                               SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

       E.      Special instructions regarding the payment of criminal monetary penalties:

       Defendant shall pay restitution in regular monthly installments of not less than 10%
       of gross monthly income. Interest requirement is waived. Defendant to notify Court
       and U.S. Attorney of any material change in economic circumstances that may affect
       defendant’s ability to pay restitution.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.
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Deft’s U.S. Marshal No.:   22104-076
